Case O:l7-cv-60533-.]E|\/| Document 79 Entered on FLSD Docke'i 06/27/2018 Page 1 of 8

§;lEZ:B zazEl.l. my l.'

UNITED STATES DISTRICT COURT

SOUTHERN

Rodney Scott Patterson

V.

American Air|ines

DISTRICT OF FLOR|DA

EXHIBIT AND WITNESS LIST

Case Number: 17-CV-60533-JEM

 

 

 

 

 

PRES!DING JUDGE PLAINHFF’S ATrORNEY ~ DEFENDANT’S ATTORNEY
A|icia M. Otazo-Reyes Wm. Am|ong / Noe| Pace |V|ichae| Holt
TRLAL DATE`(S) couRT REPORTER. COURTROOM DEPUTY
6/27/2018 Tammy Nestor Clement Hammond
PLF. DEF. DATE
NO' NO_ OFFERED MARKED ADMl'l'TED DESCRlPTlON OF EXl-llBl'I`S* AND Wl'I'NESSES
1 6/27/2018 X X 3 Emails between Gelnn Caddy and Edwin’Bercaw

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

" lnclude a notation as to the location of any exhibit not held with the case file or not available because of size.

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"" Case O:l7-cv-60533-.]E|\/| Document 79 Entered on FLSD Docl<et 06/27/2018 Page 2 of 8

On Flrli,, A|rZ©,, 2©1© at 4:59 P|\/|, Scott <MEDLL@@Q_LM> wrote:
Dr Caddy,

|f Dr."B_eLc_aw will play ball with you, tine. | have no issues with spending the money. l personally
feel he took my money and then when l showed up had the intern do the work which is not what l
paid for.

|f he won't play ball we will cut bait and go'tish elsewhere
- v/;

SP

----- Original |\/lessage-----

From: Ed B_emaw <eglz@,m_e_dp_svoh.r@t>
To: aa737drvr <a_aL'_%ld_mL@ag_L&_Qm>

Cc: Kath Baum <kgau£]@m§gp§yggget$
Sent: Win “‘l@ 4:24.p_m
Subject: Consu|tation with Dr. Caddy

l\/|r. Patterson,

l\/|y office has received the request from Dr. Caddy. For a haltc hour phone consultation,
there is a $225 fee required by my company for me to speak with him and answer his
questions since this is a legal case. You can authorize that payment on your credit card or
have it sent by other means if your counsel is covering that. Then l will proceed with the
phone conference as soon as possible | am CCT:jgg Dr. Kathy Baum, who is our intake
coordinator and involved in setting this up on our end.

 

 

 

Than|< you,
iad WM__

. PLA|NT|FF'S
Edwln w Ph.D. EXH|B|T
Neump_s.\¢choioglsl

 

Comprehensive ]\_/l_ed_P_sM;hSystems, |nc. §§SE )‘7 ,;
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'~ ` .-` fax ’

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|

 

if your counsel is covering that. Then l will proceed with the phone conference as soon
as possible | am CC'ing Dr. Kathy Baum, who is our intake coordinator and involved in
setting this up on our end.

Thank you,

Ed

Edwin Bercaw, Ph.D.

Neuropsychologist

Comprehensive l\/IedPsych Systems, lnc.
l'94ll 363-08781 ext 2101

lQ41l363-0522 faX

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----- Original |\/lessage-----

From: Scott <aa737drvr@ao|.com>

To: glenncaddy <lenncadd @gmai|.com>
sent md

Subject: Re: Consultation with Dr. Caddy

l will take care of this issue in the am as they are closed. | want to be clear with Dr. Bercaw moving
fonNard, his testing was not what | paid for. l spoke with Dr. Kantor and was referred to Dr. Bercaw. l
showed up in the morning and the receptionist promptly asked me for the funds to undergo testing. Dr.
Bercaw was not available and | asked to speak to him.

When l went into Dr. Bercaw's office to meet him | was introduced to Dr. Fonseca. He asked me if |
minded her observing the testing She also showed up in his office with a copy of Dr. Gary Kay's book
Aviation Psycho|ogy. | did not realize until after leaving that his tests would not be accepted by the
FAA. She administered the tests and although she is a post doctoral graduate student, l didn‘t pay for
that. Keep in mind, my medical certification is not an issue right now. Dr. Knippa's report is not a

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grounding item. AA is using it to terminate me. Paui's case is exactly a duplicate of mine He went
to i\/iayo Ciinic and they are not accepting his results instead want him to go to Dr. Kay in Washington.
l would be willing to do the same as weii.

in short, Bercaw's office should have briefed me when l made the appointment lVly Aviation lVledical
Examiner says the professional offices that handle these cases advise the patient to come in the day
before. They interview you in the afternoon Dr. Kay says testing should take place over two days
with no more than 5 hours each day. i was with him from 1000 through about 1800. l did not have an
opportunity to each a wholesome lunch.

----- Origina| i\/lessage-----
From: Glenn Ross Caddy Ph.D. <gj§ng_ggggy@gnlgjmm>
To: Ed Bercaw <eg_h@medp_smh_.riet>

Cc: Scott <a 3 co >
Sent: iVion, iViay 2, 2016 6:11 prn
Subject: Re: Consultation with Dr. Caddy

Good Afternoon Scott,

Piease contact Dr. Ed Bercaw and pay him for the consult that i wish to have with him. We may need
up to about 20 to 25 minutes, certainly no more

Ed, as soon as the finances are sorted out, please call me [my cell is: [954 547 5100]; and let us get
the appointment scheduled

The time for Scott to appeal the removal of his Certification is running out. This is not yet a forensic
case but it may move in that direction if AA terminates Scott.

Glenn Ross Caddy

On i\/ion, i\/iay 2, 2016 at 4:30 Pi\/l, Ed Bercaw <edb@me_dp_sycil.net> wrote:
Thanks for your response We will go ahead after receipt of payment.

Best Regards,
Dr. Bercaw

Edwln Bercaw, Ph.D.

Neuropsychologist

Comprehensive i\/iedPsych Systems, inc.
136 - 7 e)<t 2101

(9§;! j 363~0527 fax

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----- Original i\/iessage--~--

From: Ed Bercaw <edb@medpsych.net>

To: Scott <aa737drvr@ao|.com>; glenncaddy <glenncaddy@gmail.com>
Sent: Wed_9:32 am

Subject: Re: Consuitation with Dr. Caddy

Hi i\/ir. Patterson,

i can review the results with you over the phone for no extra charge i could do this
perhaps Friday in the afternoon or i\/ionday. The consultation with Dr. Caddy is considered
forensic consultation by my office and the rate is set the company, not me.

,,

l

Thanks,

Edwln Bercaw, Ph.D.

Neuropsychologist

Comprehensive i\/iedPsych Systems, _lnc.
(941) 363-0878, eXt 2101

(941) 363-0527 tax

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electronic device

From: Scott <aa 23 Zd[y[@ag|.gom>
Sent: Wednesday, Méivél~,, m© 8:53:05 Al\/i

To: Ed Bercavv; aLenn§addl@gmall&om
Subject: Re: Consuitation with Dr. Caddy

 

Dr. Bemem,

l apparently got the message a little late yesterday and your receptionist was gone after 1700. i
thought one question last night. We never spent time consulting the results of this exam. When i was
at your office l understood we were going to discuss this issue. ls there a difference between you
spending that time with Dr. Caddy in lieu of me.

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Aiso below you mentioned this being a court case it isn‘t now. Dr. Caddy is performing a forensic
examination. i\/iay we factor this into the situation and your rate decision as well as the above?

vit

Scott Patterson
704-231-0909

----- Original i\/iessage----- \

From: Ed B_etcaut <edb@medpsmh.net>

To: Scott <aa7 7rvr ai.co >; glenncaddy <glenncaddy@gmail.com>
Sent: iVion, MEWE“ .1@ 4:30 gm

Subject: Re: Consuitation with Dr. Caddy

Thanks for your response We will go ahead after receipt of payment
Best Regards,
Dr. Bercaw

Edwln EemaW, Ph.D.

Neuropsychologist

Comprehensive Med`Psych Systerns, inc.
(941) 363-0878, eXt 2101

(941) 363-0527 tax

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Ema' Cgr_\f`dentia 'ty Ngtice: This e»mai| message (including any attachments) may be confidential and subject to protection underthe iaw, including
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From: Glenn Ross Caddy Ph.D. <gLegMdgy@gULlM>
Sent: Friday, D, 2©167:38:33 Pl\/l
To: Scott

Cc: Ed"Be[caw
Subject: Re: Consuitation with Dr. Caddy

Scott,

i have already sent Dr. Be'[.\gaw an Authorization to Reiease in order for me to speak to me
regarding the report he prepared. l\/ly sense is that it is inadequate for your purposes and it
does not contain a lot of critical history and thus perspective `

Piease send Dr. Er_caw an emaii reconfirming that he will speak with me and re-authorize
the caii. Piease either tell him you will pay for the consult or that l will do so on your behalf

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as we can arrange a credit payment.

i also have spoken with the administrator of his practice today and she will contact him
regarding a call.

Glenn ROSS Caddy Ph.D., A.B.P.P., F.A.P.A.
Ciinicai, Heaith and Forensic Psycho|ogy
954 547 5100

On Fri, .Apr 290 2018 att4.5l iF_>lMl}» Scott <aal§_Bihzc@BLcom> Wrote:
Dr Caddy,

if Dr."Be_L@w will play bail with you, fine l have no issues with spending the money. l personally
feel he took my money and then when i showed up had the intern do the work which is not what l
paid for.

if he won't play bail we will cut bait and go fish elsewhere

v.lt

SP

 

